219 F.2d 709
    UNITED STATES of America, Appellant,v.Theodore WISNIEWSKI.
    No. 15238.
    United States Court of Appeals, Eighth Circuit.
    January 6, 1955.
    
      Appeal from the United States District Court for the District of Minnesota.
      George E. MacKinnon, U. S. Atty., and Alex Dim, Asst. U. S. Atty., St. Paul, Minn., for appellant.
      T. H. Wangensteen, Raymond J. Julkowski, Minneapolis, Minn., and William P. Murphy, St. Paul, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court, 123 F. Supp. 385, dismissed on stipulation of parties.
    
    